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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

 MARTIN L. SAMUDIO and SAN                               §
 JUANITA SAMUDIO,                                        §
                                                         §
          Plaintiff,                                     §
                                                         §
 v.                                                      §           Civil Action No. 5:19-cv-1334-DAE
                                                         §
 LOAN CARE, LLC, Mortgage Servicer                       §
 for LAKEVIEW LOAN SERVICING,                            §
 LLC,                                                    §
                                                         §
          Defendants.                                    §

                       DEFENDANTS’s DISLCOSURE STATEMENT AND
                         CERTIFICATE OF INTERESTED PARTIES

        Under Rule 7.1 of the Federal Rules of Civil Procedure, Defendants Loan Care, LLC,

(“Loan Care”) Mortgage Servicer for Lakeview Loan Servicing, LLC’s (“Lakeview”)

(“Defendant”) files Defendant’s Disclosure Statement and Certificate of Interested Parties and

would show as follows:

                                          A. Disclosure Statement

        1.       Defendant Lakeview Loan Servicing, LLC's sole member is Bayview MSR

Opportunity Corp. No public held corporation owns more than 10% of Bayview MSR Opportunity

Corp. stock.

                                   B. Disclosure of Interested Persons

        2.       The following persons may have a financial interest in the outcome of this lawsuit:

                 a.       Martin L. Samudio – Plaintiff;

                 b.       San Juanita Samudio – Plaintiff;




Defendant’s Disclosure Statement and Certificate of Interested Parties
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                 c.       Loan Care, LLC as Mortgage Servicer for Lakeview Loan Servicing, LLC

                          – Defendant;

                 e.       Morris J. Kirschberg, Morris Kirschberg Law Firm, 5835 Callaghan Road,

                          Suite 100, San Antonio, Texas 78228, morris@mkirschberg.com – Counsel

                          for Plaintiff; and

                 d.       Mark D. Hopkins, Hopkins Law, PLLC, Of Counsel to Codilis and Moody,

                          P.C., 400 North Sam Houston Parkway East, Suite 900A, Houston, Texas

                          77060, (281) 925-5243.

        Date: November 26, 2019

                                                     Respectfully submitted,


                                                     By:      /s/ Mark D. Hopkins
                                                              Mark D. Hopkins
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                                                              ATTORNEYS FOR DEFENDANTS




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                                      CERTIFICATE OF SERVICE

        I hereby certify that on the 26th day of November 2019, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy
to the following:

Morris J. Kirschberg
Morris Kirschberg Law Firm
5835 Callaghan Road, Suite 100
San Antonio, Texas 78228
morris@mkirschberg.com

ATTORNEY FOR PLAINTIFFS



                                                              /s/ Mark D. Hopkins
                                                              Mark D. Hopkins




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